Case 1:05-cr-10024-.]DT Document 19 Filed 06/23/05 Page 1 of 2 Page|D 21

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
VS. No. 05-10024~T
KEITH ROBINSON,
Defendant.

ORDER CONTINUING TRIAL AND REPORT DATE
AND EXCLUDING DELAY

Upon motion of counsel for defendant, with no objection from the government and for
good cause shown, the report date which is currently scheduled for June 23, 2005, and the trial
date Which is currently scheduled for July 6, 2005, are hereby continued The defendant
contends that additional time is needed to prepare for trial.

The court finds that defendant’s need for a continuance for additional preparation
outweighs the best interests of the public and the defendant in a speedy trial; therefore, the ends
of justice will be served by granting a continuance in order to allow the defendant more time to
prepare for trial. Accordingly. the trial is continued from Julv 6, 2005 _ to August ll 2005. at
9:30 A.M. The resulting period of delay, from July 6, 2005, to August l, 2005, is excluded
pursuant to 18 U.S.C. § 3l6l(h)(8)(A).

A new report/motion date has been set for July 13, 2005, at 8:45 a.m.

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.l » D. TODD
D STATES DISTRICT IU'DGE

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DATE U

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IT IS SO ORDERED.

 

 

 

 

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This notice confirms a copy ofthe document docketed as number 19 in
case l:05-CR-10024 was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

